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  IPOL    DIRECTORATE-GENERAL FOR INTERNAL POLICIES
  EGOV    ECONOMIC GOVERNANCE SUPPORT UNIT




                                             BRIEFING

           Regular public hearing with Danièle Nouy, Chair of the
                      Single Supervisory Mechanism
                                      ECON on 19 June 2017
This note is prepared in view of a regular public hearing with the Chair of the Supervisory Board of
the European Central Bank (ECB) as referred to in Regulation 1024/2013 and the Interinstitutional
Agreement between the European Parliament and the ECB.
The following issues are addressed in this briefing: information in the public domain relating to the
resolution of Banco Popular, the ECB’s supervisory expectations for banks relocating to the euro
area in the context of Brexit, the Supervisory Banking Statistics for the fourth quarter of 2016, two
guidance documents published by the SSM, and a summary of an external briefing paper on banks’
structural changes.

               I. Banco Popular - the first resolution of a directly supervised bank
On 6 June, the ECB declared the first bank under its direct supervision to be “failing or likely to fail”.
On the following day, the Single Resolution Board (SRB) adopted a resolution decision, transferring
all shares and capital instruments of Banco Popular Español S.A. (Banco Popular) to Banco Santander
S.A (Santander) under the new framework for the recovery and resolution of credit institutions and
investment firms (Directive 2014/59/EU).
This briefing hence summarises some key information available in the public domain concerning the
bank and its business model, the resolution procedure and the involvement of the European institu-
tions, the root causes of the bank’s failure, and previous supervisory assessments of the bank’s finan-
cial health.
                        Banco Popular - business model and financial results
All information in this section is based on Banco Popular’s 2016 Annual Report as initially pub-
lished (the results for 2016 were later on restated, according to the information filed with the Spanish
Securities Market Commission (CNMV) on 3 April 2017; see next section).
Banco Popular is a Spanish banking group with approximately 12.000 employees (20% fewer than
in 2015), 90% of whom work in Spain where the bank operates 1.600 branches.
Banco Popular’s business strategy is in particular focused on small and medium-sized enterprises
(SMEs). Its exposure to SMEs (29% of all exposures) is significantly higher than that of other Spanish
banks (on average 10% of all exposures).
At the end of 2016, Banco Popular had a balance sheet size of EUR 147.9 billion, which is 6.8%
lower than in the year before. Looking at the bank’s activities by business line, next to the SME
business the Real Estate Business forms another considerable part of the total assets on the balance
sheet (EUR 24.3 billion, or 16,4%).
Banco Popular’s 2016 Annual Report highlights that the year 2016 was marked by a non-recurring
balance sheet clean-up and the conclusion of a restructuring plan that aimed to reduce costs, result-
ing in a consolidated financial loss of EUR 3.5 billion (in 2015 the bank reported a profit of EUR

16 June 2017                    Contact: egov@europarl.europa.eu                             PE 602.087
                            M. Magnus, A. Duvillet-Margerit, B. Mesnard
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106 million). Provisions amounted to EUR 5.7 billion; the coverage ratio of non-performing and non-
written-off balances improved from 45.5% in 2015 to 52.3% in 2016.
As regards the solvency of the bank, Banco Popular’s 2016 Annual Report sets out that the pertinent
solvency ratio of the banking group stood at 31 December 2016 at 12.13% phased-in CET1 (that
is the ratio between common equity Tier 1 capital and risk-weighted assets; the phased-in ratio allows
for the gradual application of the capital requirements introduced by the CRD IV directive and CRR
regulation; Banco Popular’s CET1 fully-loaded ratio at the end of 2016 was notably lower and stood
at 8.19%.)
The Annual Report moreover states that (p. 295) “In accordance with the results of the Supervisory
Review and Evaluation Process (SREP), the European Central Bank established a CET 1 capital
requirement of 7.875% for Popular in 2017. This includes the regulatory requirement (Pillar 1) of
4.5%, a Pillar 2 requirement of 2%, a capital conservation buffer of 1.25% and a local systemic
institution buffer of 0.125% imposed by Banco de España.”
In comparison, the CET1 ratio of 12.13% that Banco Popular reported at 31 December 2016 is just
slightly below that of its peers: the ECB’s Supervisory Banking Statistics for the fourth quarter 2016
indicate that on average the directly supervised Spanish banks showed a CET1 ratio of 12.59% at 31
December 2016.
As regards the liquidity situation of the bank, Banco Popular’s 2016 Annual Report sets out that the
bank was compliant with the regulatory Liquidity Coverage Ratio (LCR). The LCR was developed
to promote the short-term resilience of the liquidity risk profile of financial institutions by ensuring
that they have sufficient High Quality Liquid Assets to survive a significant stress scenario lasting 30
calendar days. The minimum LCR target level is 80% in 2017, and 100% in 2018. Banco Popular’s
consolidated LCR at December 2016 was 134.8%.

                         Banco Popular - restated financial results for 2016
The results for 2016 as presented in the initial Annual Report 2016 were later on partially restated,
according to the information filed with the Spanish Securities Market Commission (CNMV) on 3
April 2017 (see picture 1). Banco Popular sets out in the 1Q17 Results Presentation (p. 11) that “Ac-
cording to the Significant Event announced the 3rd of April, the €160M provision shortfall linked to
NPLs collaterals, which was statistically estimated at first, and the €145M NPL book (net of provi-
sions) in regards to potential derecognition of collateral, are both being analyzed. Final impact due
to be announced by 2Q17”.
                 Picture 1: Banco Popular - Re-expression of accounts for 2016




                              Source: 1Q17 Results Presentation (p. 11; excerpt)




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  Box 1: Banco Popular - Timeline of events (including information taken from the financial press)
26/05/2016:    Banco Popular announced a capital increase of EUR 2.5 billion, to be completed in June
               2016; the bank is said to be anticipating stronger capital requirements by the ECB at the end
               of 2016 through the annual SREP process, as well a further provisioning of real estate port-
               folios by up to EUR 4.7 bn
29/07/2016:    Publication of the 2016 stress test: Banco Popular’s transitional CET1 ratio reaches 13.45%
               in the 2016 in the baseline scenario, down to 7.01% in 2018 in the adverse scenario
01/12/2016:    Banco Popular announced the replacement of its executive chairman, Mr Angel Ron, by Mr
               Emilio Saracho, in the course of Q1 2017
03/02/2017:    Banco Popular reports a EUR 3.5 bn loss for 2016 because of impairments on its real estate
               portfolio, which heavily drags the CET1 ratio, a key measure of financial health. The bank
               is predicted to raise capital again
20/02/2017:    Mr. Emilio Saracho replaces Mr. Angel Ron as Chairman of the bank; he is the former head
               of investment banking at Santander, and has worked for several investment banks
03/04/2017:    CEO Pedro Larena quits after an audit reveals under-provisioning of bad loan portfolios for
               EUR 600 million as well an unreported loans to clients to buy shares in the 2016 capital
               increase; the 2016 financial statement are partially restated
10/04/2017:    General assembly of shareholders; the CEO indicated that the bank needed a capital increase
               and could possibly be sold to a competitor
05/05/2017:    Banco Popular announces a first quarter loss of EUR 137 million. According to the financial
               press, the capital needs exceed the bank’s current market valuation
16/05/2017:    Banco Popular declares it has been contacted by several potential buyers
31/05/2017:    Reuters reports that Mrs E. König, chair of the SRB, warned EU officials that Banco Popular
               “may need to be wound down if it fails to find a buyer”
01/06/2017:    Banco Popular’s AT1 bonds trade at distressed levels following the Reuters report of
               31/05/2017
05/06/2017:    Banco Popular requested EUR 2.0 bn of Emergency Liquidity Assistance, according to the
               financial press
06/06/2017:    Banco Popular requested another EUR 1.6 bn of ELA according to the financial press, and
               then fell short of eligible collateral: it cannot reopen on the following day; it is reported in
               the Spanish press that the bank deposited in total about EUR 40 billion in collateral but could
               only withdraw EUR 3.5 billion in cash; Mr de Guindos, Spain’s economy minister, also con-
               firmed on 12/06 that local authorities had been involved in the withdrawal of large deposits
               in the last days before the resolution
               The bank is deemed failing or likely to fail by the ECB
               The SRB then triggered the resolution and launched an accelerated sale process; the provi-
               sional value of the bank as assessed by an independent expert was said to be negative in the
               order of magnitude between EUR (8.2) billion and EUR (2.0) billion
07/06/2017     The bank was sold to Santander for 1 euro; the FROB (Spanish resolution authority) imple-
               ments the resolution scheme adopted by the SRB
12/06/2017:    Spanish regulators announce a ban on short selling of Liberbank shares for fear of contagion




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                                    Banco Popular - snap-shot of the resolution procedure
                     On 7 June, the SRB transferred all shares of Banco Popular to Banco Santander for
                     a symbolic price of 1 euro, meaning that Banco Popular with immediate effect operates
                     under normal business conditions as a solvent and liquid member of the Santander Group.
                     The following “snap-shot” sketches which authority had to decide about which aspect in
                     the resolution procedure of Banco Popular, and cites some respective key assessments:
                      Institution          Key consideration             Assessment
   Failing?




                      European Central     Is the bank failing or        The ECB determined that Banco Popular Español S.A.
                      Bank                 likely to fail?               was failing or likely to fail.
                                                                         “The significant deterioration of the liquidity situation of
                                                                         the bank in recent days led to a determination that the en-
                                                                         tity would have, in the near future, been unable to pay its
                                                                         debts or other liabilities as they fell due”.
                                                                         Press release 7 June 2017


                      Single Resolution    Which resolution tool         “There was no reasonable prospect that any alternative
   Solution?




                      Board                is the most suitable?         private sector measures or supervisory action would pre-
                                           Is a private sector so-       vent the failure of the Institution within a reasonable
                                           lution possible?              timeframe”.
                                           Is a resolution in the        “Resolution action would be necessary in the public inter-
                                           public interest?              est”.
                                                                         Press release 7 June 2017; Accompanying note


                      Spanish Executive    Implementation of             “...the SRB obtained a valuation from an independent ex-
                      Resolution Au-       the necessary resolu-         pert... This valuation estimates an economic value of the
                      thority FROB         tion actions                  entity of a negative two billion euros (€2,000,000,000) in
                                                                         the baseline scenario and a negative eight billion, 200
   Implementation




                                                                         million euros (€8,200,000,000) in the most adverse sce-
                                                                         nario.”
                                                                         “The economic value and the offer received in the sale of
                                                                         business tender... evidence the existence of losses that
                                                                         must be borne, firstly by shareholders losing their stakes
                                                                         in the entity...”; “The FROB’s execution of the power to
                                                                         write down and convert the capital instruments fulfils the
                                                                         instructions issued by the SRB in the resolution scheme...”
                                                                         Decision adopted by FROB’s Governing Committee on
                                                                         June 7, 2017 concerning Banco Popular Español S.A


                      European Com-        Approval under EU             “It [the resolution by sale of business] was the best course
                      mission              Bank Recovery and             of action to ensure the continuity of the important func-
                                           Resolution rules              tions performed by the bank and to avoid significant ad-
   Approval




                                                                         verse effects on financial stability. In this specific case,
                                                                         losses were fully absorbed by shares and subordinated
                                                                         debt.”
                                                                         “No State aid nor aid from the Single Resolution Fund has
                                                                         been provided and the sale is subject to normal merger
                                                                         and regulatory review.”
                                                                         Press release 7 June 2017
   Adoption




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                Banco Popular - provisioning deficit and problematic liquidity situation
The ratios in the bank’s initial Annual Report 2016 would suggest that at the end of 2016, the bank
has neither had a liquidity nor a solvency problem: the reported Liquidity Coverage Ratio stood at
134.8% and the CET1 ratio at 12.13%.
Banco Popular states in its Annual Report 2016 (p. 32) that “...this year was marked by the non-
recurring balance sheet clean-up exercise...”.
A presentation prepared by Banco Santander, the buyer, nevertheless points to the problem of a size-
able provisioning deficit for non-performing assets in the order of magnitude of EUR 7.9 billion (see
picture 2).

           Picture 2: Recapitalisation needs as assessed by the buyer of Banco Popular




Source: Presentation “Banco Popular acquisition - Creating shareholder value through in-market consolidation”, p. 34,
as published by Santander on 7 June 2017.

The ECB’s press statement, on the other hand, states that the assessment that Banco Popular was
failing or likely to fail was rooted in the significant deterioration of the liquidity situation of the
bank (see Box 1).

                            Banco Popular - previous supervisory assessments
Banco Popular was analysed by ECB in the context of the 2014 Comprehensive Assessment, the
financial health check of those banks that were about to come under direct supervision of the ECB.
At that time, the results published for Banco Popular did not reveal any capital shortfall; more spe-
cifically, the Asset Quality Review led to a marginal adjustment of Banco Popular’s coverage ratio
for non-performing exposures (per year end 2013) from 34.75% to 35.29%.

Banco Popular was also part of the 51 banks that were subject to the European Banking Authority’s
2016 EU-wide stress test. The results projected that in the baseline scenario the bank’s CET 1 ratio
would slightly improve from 13.1% in 2015 to 13.5% per year-end 2018. In the hypothetical stress


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case scenario, however, Banco Popular’s CET 1 ratio was projected to fall to 7%, well below that of
its peers, for which in the adverse scenario an average ratio of 9.4% at the end of 2018 was projected.


               II. BREXIT - Supervisory expectations for the relocation of banks
The ECB has set out its supervisory expectations for banks that consider relocating to the euro area
in the context of Brexit. Related information is published on a dedicated thematic website. The ECB
has moreover organised a technical workshop for banks.
Sabine Lautenschläger, Member of the Executive Board of the ECB and Vice-Chair of the Super-
visory Board of the ECB, made a few introductory remarks at the technical workshop that was
organised in Frankfurt on 4 May 2017, emphasising some of the key considerations that banks should
keep in mind if planning for a relocation. The following three quotes point at aspects that are worth
noting:
    No shell companies
“First of all, we [the supervisory arm of the ECB] will not accept shell companies. Any bank that
operates in the euro area must be a “real” bank. And a “real” bank has adequate local risk man-
agement, sufficient local staff and operational independence. A “real” bank also does not perma-
nently book all of its exposures back-to-back with another entity in the group; this would make it way
too reliant and limit control over its own balance sheet.”
    Short timeline
“From the moment a bank hands in a complete application for a licence, it usually takes between six
and twelve months before the process is finished. Against that backdrop, 29 March 2019 is closer
than it appears.”
    No grandfathering of internal models
“Another crucial question for banks that want to relocate is whether they can continue to use their
internal models. We are aware that banks would like us to simply grandfather existing model approv-
als that were given by the British supervisor. We will not do that. It is not feasible from a legal point
of view, and it would not be the most prudent thing to do. Internal models need to be approved by the
relevant supervisor, also to meet the obligation for equal treatment; therefore, banks that relocate to
the euro area would have to seek a new permission from us.”
The overarching principle is that banks across the euro area shall be supervised according to the same
high standards, and the ECB aims to ensure that all banks stick to the same standards. All banks that
plan to relocate and that fulfill the relevant criteria of significance (related to size, economic im-
portance, cross-border activities, and the receipt of direct public financial assistance) would therefore
become subject to a mandatory Comprehensive Assessment by the ECB.




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                                    III. Supervisory Banking Statistics
Since the second quarter 2016, the ECB publishes aggregate Supervisory Banking Statistics on the
directly supervised significant banks; that dataset covers inter alia the balance sheet composition and
profitability of those banks.
The data published by the ECB on 25 April 2017 for the aggregated fourth quarter 2016 results show
that compared to the previous year, banks had both lower net interest income and lower fee income
that are their two main sources of income.
Aggregated net interest income decreased from EUR 270.4 billion to EUR 263.0 billion (-2.7%), and
aggregated fee income decreased from EUR 134.7 billion to EUR 130.5 billion (-3.1%).
Administrative expenses and depreciation remained very stable; slightly reduced impairments and
provisions even had a small positive impact on the banks’ overall profitability, but that improvement
could not make up for the shortfall of “other net operating income” which came down by some 20%
(“other net operating income” is a residual category which can include, for example, recurring items
such as income on insurance activities as well as non-recurring one-off gains).
In sum, however, the overall profitability of directly supervised banks (see table 1) has been sig-
nificantly worse in 2016, as compared to the previous year: The aggregated net profits decreased from
EUR 60.8 billion to EUR 45.2 billion, which is a reduction by more than 25%.
                  Table 1: Profit and loss figures of ECB directly supervised banks
                  (year-to-date, for the fourth quarter 2016 and 2015, in EUR millions)




Source: ECB Supervisory Banking Statistics, 04/17, T02.01.1
Note: 1) Operating income before administrative expenses and depreciation; 2) Provisions include provisions for "com-
mitments and guarantees given" and "other provisions"; 3) Also includes "extraordinary profit or loss before tax".

The aggregate Supervisory Banking Statistics give furthermore some information on the situation of
NPLs of directly supervised banks, an issue that also ranks high in EBA’s most recent Risk Dash-
board for Q4 2016, due to its likelihood and impact. The data shows in table T03.05.1 that over the
one-year period under review (4Q 2016 as compared to 4Q 2015), the average NPL ratio has im-
proved from 7.03% in 4Q 2015 to 6.17% in 4Q 2016. Table 2, however, shows that the situation of
significant banks with regard to NPLs was very heterogeneous at country level:



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       Table 2: NPL ratios of loans and advances by country (EUR billions; percentages)




             Source: ECB Supervisory Banking Statistics, 04/17, T03.05.2
At the same time, the coverage ratio for NPLs - a measure of a bank's ability to absorb potential
losses from its NPLs - has improved from 43.99% in 4Q 2015 to 44.55% in 4Q 2016; again, the
coverage ratios are very heterogeneous at country level (see table 3):
  Table 3: Coverage ratios for NPLs - all exposures - by country (EUR billions; percentages)




             Source: ECB Supervisory Banking Statistics, 04/17, T03.06.2



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                                    IV. Recent SSM publications
Since the last regular public hearing of the Chair of the SSM on 23 March 2017, the ECB published
two guidance documents that are summarized as follows:
15 May 2017: ECB Guide to fit and proper assessments
The ECB “Guide to fit and proper assessments” aims to clarify the supervisory criteria and the process
that is applied when the ECB has to determine the suitability of candidates who shall become board
members. The guide is applicable to all institutions under the direct supervision of the ECB, yet it is
not a legally binding document, nor does it advocate any particular governance structure.
The Guide sets out that the suitability of members of the management body is assessed against five
criteria: (i) experience; (ii) reputation; (iii) conflicts of interest and independence of mind; (iv) time
commitment; and (v) collective suitability. The Guide sets out, for example, the length of banking
experience that is usually required to hold a position on a bank’s board, and describes in more detail
which situations might create potential material conflicts of interest.
16 May 2017: ECB Guidance on leveraged transactions
The ECB issued guidance on leveraged transactions – that are loans to a borrower who already has
high amounts of debt – not least in view of the low interest rate environment and the banks’ ensuing
search for yield strategies that are inherently more risky and require a higher level of monitoring.
That guidance aims to foster sound origination and risk management practices and sets out the super-
visor’s expectations regarding the risk management and reporting requirements. It is applicable to all
significant banks directly supervised by the ECB, though the ECB will apply the principle of propor-
tionality and adjust its level of intrusiveness depending on the banks’ risk profile.
The scope of the guidance encompasses all types of loan or credit exposure where the borrower’s
post-financing level of leverage exceeds a “Total Debt to EBITDA” (earnings before interest, tax,
depreciation and amortisation) ratio of 4 times, and all types of loan or credit exposures where the
borrower is owned by one or more medium-term investor (financial sponsor). Some transactions, on
the other hand, are excluded from that definition, for example loans with natural persons and public
sector entities, loans below EUR 5 million, loans to SMEs, and specialised lending.
                                      List of supervised entities
The ECB regularly publishes a complete list of significant and less significant institutions. The most
recent list of supervised entities (as of 1 January 2017) was published on 28 March 2017, showing
that currently 125 entities are directly supervised (previously: 126). The specific grounds for classi-
fying a given entity as significant are always indicated in the published list. Changes to the list,
however, are not singled out or shown separately. A comparison to the previous list reveals that the
entity UBS (Luxembourg) S.A. in Luxembourg is no longer directly supervised, as it has for a period
of three consecutive calendar years no longer met any of the criteria that would justify its classifica-
tion as significant institution, resulting in a delisting according to Article 47(1) of the SSM Frame-
work Regulation.




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                         Box 2: Summary of an external draft briefing paper:
                   “Have European banks actually changed since the start of the crisis?
                     An updated assessment of their main structural characteristics”

On request of ECON coordinators, EGOV commissioned the update of a previous briefing paper
on bank structures. A draft of that updated briefing paper, written by Ata Can Bertay (Ozyegin
University) and Harry Huizinga (Tilburg University), was received on 15 June 2017. The final
version will be circulated to ECON members.
The following paragraphs are a citation from the Executive Summary of the draft briefing, high-
lighting the most important findings:
“This briefing paper documents broad trends regarding Eurozone banking market performance and
structure during 2003-2016. The main focus of this briefing paper is on the 125 banks that are
directly supervised by the European Central Bank (ECB) as the single supervisor in the Single
Supervisory Mechanism (SSM). Our data sources for bank-level information are Bankscope (for
the period 2003-2015) and Orbis Bank Focus (for the years 2015-2016) of Bureau Van Dijk.
We consider a range of variables related to bank profitability, activity mix, size, balance sheet
composition, and loan impairment. Our main objective is to see whether the observed trends are
consistent with the objective of improved financial stability.
From the data, we identify several positive trends in recent years:
   • The size of the average Eurozone G-SIB has continued to decline.
   • The average directly supervised bank and the average Eurozone G-SIB have increased their
     ratios of loans to total assets, while they have reduced their ratios of government securities
     to total assets.
   • The average directly supervised bank and the average Eurozone G-SIB have increased their
     ratios of customer deposit funding to total liabilities, while they have reduced their ratios of
     wholesale short-term funding to total liabilities.
   • Directly supervised banks generally have been able to materially increase their capitalization
     rates.
In addition, there are several trends that raise potential supervisory concerns:
   • In recent years, the average directly supervised bank and the average Eurozone G-SIB have
      achieved returns on assets that are positive but close to zero, in part reflecting low net interest
      margins and rising ratios of overhead to assets.
   • The average Eurozone G-SIB remains considerably less well capitalized than the average
      directly supervised bank, and has been able to increase its capitalization much less in recent
      years.
   • The ratio of non-performing loans to total loans of directly supervised banks remains very
      high, even if it has declined during 2014-2016 after reaching a peak in 2013.
   • During 2003-2016, the pattern of loan loss provisioning of directly supervised banks has
      been highly countercyclical.
...Concerns about the cyclicality of loan loss provisions are in part addressed by the implementation
of International Financial Reporting Standard 9 (IFRS 9) on Financial Instruments planned for
January 1, 2018, which aims to implement a forward-looking, expected loss model of loan loss
provisioning.”

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